                         IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE

UNITED STATES OF AMERICA

VS.                                                  NO. 2:11-cr-00002-022
                                                     MAGISTRATE JUDGE BRYANT
MARCIA PRESS

                     ORDER ON JOINT MOTION TO WAIVE HEARING
                     ON VIOLATION OF SUPERVISED RELEASE AND
                               MODIFY CONDITIONS

       A hearing on Petition for Revocation of Supervision was set for August 23, 2013, at

10:00am, before this Court. Counsel for the defendant Marcia Press and Blanche Cook,

Assistant Untied States Attorney, and defendant Marcia Press, advised the Court that after

consulting with Counsel, Ms. Press waived hearing on the Petition to revoke supervision,

admitted the violation of supervised release conditions as alleged, and agreed that a sentence of

9 months custody was the maximum term of custody recommended under the appropriate United

States Sentencing Guideline, and requested that the sentence of 9 months be put into effect, and

terminate further supervision. Ms. Press, The Government and U.S. Probation Officer Kara

Sanders agree to this resolution of the Petition for Revocation of Supervision.

       1.      Ms. Press and the Government agreed with the calculations regarding grade of

            violation and Guidelines calculations submitted by U.S. Probation Officer Kara

            Sanders and recommended to the Court that a 9 month sentence in custody is the

            maximum sentence under U.S. Sentencing Guidelines pursuant to U.S.S.G. § 7B1.4.

            The parties also recommended termination of supervised release.

       2.      The Court has considered the Petition for Revocation of Supervision and the

            parties’ proposal to modify the conditions of the defendant’s supervised release. In a




Case 2:11-cr-00002        Document 1565         Filed 08/23/13     Page 1 of 2 PageID #: 4114
          prior order dated March 26, 2013, the Court ruled that Ms. Press would be subject a

          custody sentence at the maximum term of custody recommended under the

          appropriate United States Sentencing Guideline. The U.S. Sentencing Guidelines

          provide for a 3 to 9 month sentence in this case.

     3.      The Court will adopt the recommendation of the parties, and the Court orders that

          Ms. Press be sentenced to a term of imprisonment of 9 months in the custody of the

          Bureau of Prisons. Supervised release shall be terminated.

          IT IS SO ORDERED.

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                                                    ALETA TRAUGER
                                                    U.S. DISTRICT JUDGE




Case 2:11-cr-00002       Document 1565        Filed 08/23/13    Page 2 of 2 PageID #: 4115
